Case 3:23-cv-00106-AMO Document 35 Filed 06/20/23 Page 1 of 1




                                                             S DISTRICT
                                                           TE           C
                                                         TA
                                                                                      O
                                                    S




                                                                                       U
                                                   ED




                                                                                        RT




                                                                  VED
                                               UNIT




                                                             APPRO
                                                                                             R NIA




                                                                                       uin
                                                                              tinez-Olg
                                               NO




June 20, 2023                                                    ra   celi Mar
                                                                                             FO




                                                         Judge A
                                                RT




                                                                                        LI




                                                        ER
                                                   H




                                                                                       A




                                                             N                          C
                                                                               F
                                                                 D IS T IC T O
                                                                       R
